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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

      MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      3:09cr156-MHT
DEON GADDIS                        )          (WO)

                        OPINION AND ORDER

    This cause is before the court on defendant Deon

Gaddis’s motion to continue made on December 18, 2009.

For the reasons set forth below, the court finds that

jury selection and trial, now set for January 19, 2010,

should be continued pursuant to 18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

         “In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
         offense shall commence within seventy
         days from the filing date (and making
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          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

18 U.S.C. § 3161(c)(1).                  The Act excludes from the 70-

day period any continuance based on "findings that the

ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy

trial."          §    3161(h)(7)(A).               In    granting       such    a

continuance,         the    court       shall    consider,          among   other

factors, whether the failure to grant the continuance

would     “result           in      a     miscarriage          of      justice,”

§   3161(h)(7)(B)(i),             or    "would   deny        counsel    for    the

defendant     or      the        attorney    for    the       Government       the

reasonable       time      necessary      for    effective          preparation,

taking    into       account      the    exercise       of   due    diligence."

§ 3161(h)(7)(B)(iv).

     The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Gaddis in receiving a speedy

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trial.     The government filed a superceding indictment

against Gaddis on December 16, 2009, charging him with

committing a crime in addition to those charged in the

original indictment.        Counsel for Gaddis represents that

he   requires    additional      time    to     investigate     the     new

allegation      to   prepare    properly      for    Gaddis’s     trial.

Gaddis   therefore      asks   this     court    that   his   trial      be

continued.      The government does not oppose this motion.

     Accordingly, it is ORDERED as follows:

     (1) Defendant Deon Gaddis’s motion for a continuance

(doc. no. 30) is granted.

     (2) The jury selection and trial for defendant Gaddis

are continued to April 12, 2010, at 10:00 a.m. at the

G.W. Andrews Federal Building & U.S. Courthouse, 701

Avenue A, Opelika, Alabama.

     DONE, this the 21st day of December, 2009.


                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
